                                   CASE 0:12-cr-00295-PAM-AJB Doc. 6 Filed 12/04/12 Page 1 of 1

                                       IN THE UNITED STATES DISTRICT COURT
                                                     FOR THE DISTRICT OF MINNESOTA

                                                     ARRAIGNMENT MINUTES
UNITED STATES OF AMERICA,                                                   COURT MINUTES - CRIMINAL
                 Plaintiff,                                                     BEFORE: Jeanne J. Graham, 3B
 v.                                                                                U.S. Magistrate Judge

Julie Ann Campana (2),                                                Case No:          CR 12-295 PAM/AJB
                                                                      Date:             December 4, 2012
                                                                      Time Commenced:   2:29 p.m.
                                       Defendants.                    Time Concluded:   2:32 p.m.
                                                                      Time in Court:    3 Minutes
APPEARANCES:
   Plaintiff:    Allen Slaughter, Assistant U.S. Attorney
   Defendant(s): Andrew Mohring ,      : FPD : To Be Appointed

          : Reading of Indictment Waived                 : Not Guilty Plea Entered

Disclosure Due Date: December 13, 2012
Motion Filing Date:      December 21, 2012
Motion Hearing Date: January 2, 2013, at 1:30 p.m., 9E Before: Chief U.S. Magistrate Judge Arthur J. Boylan
Voir Dire/Jury Instruction Due Date: February 4, 2013
Trial Date: February 11, 2013 at 9:00 a.m., 7D     Before:  U.S. Judge Paul A. Magnuson
Other Remarks:

   : Counsel to be notified of additional dates by separate Order to be issued.

                                                                                                            s/ T Anderson
                                                                                                        Criminal Duty Clerk




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